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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                    )
In re:                              )
                                    )                          Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,  )
                                    )                          Case No. 19-34054 (SGJ)
                Reorganized Debtor. )
                                    )
                                    )
                                    )
HIGHLAND CAPITAL MANAGEMENT, L.P.,  )
                                    )
                     Plaintiff,     )
vs.                                 )                          Adv. Proc. No: 21-03004 (SGJ)
                                    )
HIGHLAND CAPITAL MANAGEMENT FUND )                             Case No: 3:21-cv-00881-X
ADVISORS, L.P.,                     )
                                    )
                                    )
                     Defendant.     )
                                    )

                                CERTIFICATE OF SERVICE

      I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Reorganized Debtor in the bankruptcy case of
Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex).

        On December 13, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

   •   Notice of First Motion to Consolidate Notes Actions [Docket No. 19]

Dated: December 16, 2021
                                                 /s/ Elliser Silla
                                                 Elliser Silla
                                                 KCC
                                                 222 N Pacific Coast Highway, Suite 300
                                                 El Segundo, CA 90245
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                          EXHIBIT A
                                                     Exhibit A
                Case 3:21-cv-00881-X DocumentCivil20Action
                                                         Filed
                                                           Service12/17/21
                                                                  List                                    Page 3 of 5 PageID 536
                                                                     Served via Electronic Mail



                   Description                            CreditorName                      CreditorNoticeName                            Email
Financial Advisor to Official Committee of                                                                               Earnestiena.Cheng@fticonsulting.com;
Unsecured Creditors                             FTI Consulting                     Earnestiena Cheng, Daniel H O'Brien   Daniel.H.O'Brien@fticonsulting.com
                                                                                   Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
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                                                                                                                          alyssa.russell@sidley.com;
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Creditors                                       Sidley Austin LLP                  Elliot A. Bromagen, Dennis M. Twomey dtwomey@sidley.com
                                                                                                                          preid@sidley.com;
                                                                                   Penny P. Reid, Paige Holden            pmontgomery@sidley.com;
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Highland Capital Management Services, Inc. and
HCRE Partners, LLC (n/k/a NexPoint Real                                            Deborah Deitsch-Perez, Michael P.     deborah.deitschperez@stinson.com;
Estate Partners, LLC)                          Stinson LLP                         Aigen                                 michael.aigen@stinson.com
Bankruptcy Judge                               US Bankruptcy Court                 Hon. Stacey G Jernigan                sgj_settings@txnb.uscourts.gov




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                          EXHIBIT B
                                     Case 3:21-cv-00881-X Document 20Exhibit
                                                                           FiledB
                                                                                   12/17/21
                                                                Civil Action Service List
                                                                                                                      Page 5 of 5 PageID 538
                                                                                    Served via First Class Mail


                   Description                           CreditorName            CreditorNoticeName               Address1             Address2         Address3    City   State      Zip
Counsel for Highland Capital Management Fund
Advisors, L.P., NexPoint Advisors, L.P., Highland
Income Fund, NexPoint Strategic Opportunities     Munsch Hardt Kopf & Harr,   Davor Rukavina, Esq., Julian
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Attorneys for James Dondero, Nancy Dondero,
Highland Capital Management Services, Inc. and
HCRE Partners, LLC (n/k/a NexPoint Real Estate                                Deborah Deitsch-Perez,        3102 Oak Lawn Avenue,
Partners, LLC)                                    Stinson LLP                 Michael P. Aigen              Suite 777                                              Dallas TX       75219
                                                                                                            Chambers of Judge
Bankruptcy Judge                                US Bankruptcy Court           Hon. Stacey G Jernigan        Stacey G C Jernigan   1100 Commerce St      Room 1254 Dallas TX        75242-1496




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